                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------ x
H. CRISTINA CHEN-OSTER, SHANNA                         :
ORLICH, ALLISON GAMBA and MARY                         :
DE LUIS,                                               :
                                                       :
                                Plaintiffs,            :        10 Civ. 6950 (AT) (RWL)
                       v.                              :
                                                           ORAL ARGUMENT REQUESTED
                                                       :
GOLDMAN SACHS & CO. and THE                            :
GOLDMAN SACHS GROUP, INC.,                             :
                                                       :
                                Defendants.            :
------------------------------------------------------ x


         MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
        TO STAY THE CLAIMS OF CERTAIN CLASS MEMBERS, TO EXCLUDE
        THEM FROM THE CLASS, AND TO COMPEL THEM TO ARBITRATION




Barbara B. Brown (admitted pro hac vice)                   Robert J. Giuffra, Jr.
Carson H. Sullivan (admitted pro hac vice)                 Theodore O. Rogers, Jr.
PAUL HASTINGS LLP                                          Sharon L. Nelles
875 15th Street, NW                                        Ann-Elizabeth Ostrager
Washington, D.C. 20005                                     Hilary M. Williams
                                                           Joshua S. Levy
                                                           SULLIVAN & CROMWELL LLP
Patrick W. Shea                                            125 Broad Street
PAUL HASTINGS LLP                                          New York, New York 10004
200 Park Avenue
New York, New York 10166                                   Amanda Flug Davidoff
                                                           Elizabeth A. Cassady
                                                           SULLIVAN & CROMWELL LLP
                                                           1700 New York Avenue, N.W., Suite 700
                                                           Washington, D.C. 20006

                                          Attorneys for Defendants
                                         Goldman Sachs & Co. and
                                       The Goldman Sachs Group, Inc.

April 12, 2019
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                                 PRELIMINARY STATEMENT

                Defendants bring this motion because             highly sophisticated class members

agreed to arbitrate “any dispute or claim” with Goldman Sachs & Co. and The Goldman Sachs

Group, Inc. (collectively, “Goldman Sachs” or the “Firm”), but did not opt out of the class.

These class members agreed to arbitration in exchange for valuable consideration: (i) promotion

to the senior (and highly remunerative) position of Managing Director; (ii) the position and high

compensation of a Private Wealth Advisor; (iii) severance benefits

       ; or (iv) valuable discretionary awards of equity-based compensation.

                The Second Circuit has already conclusively determined in this case that

Plaintiffs’ Title VII claims fall squarely within the scope of Goldman Sachs’s broad agreement to

arbitrate covering “any dispute . . . or claim arising out of or based upon or relating to”

employment, and that the Firm’s agreements should be enforced. Parisi v. Goldman Sachs &

Co., 710 F.3d 483, 485–86 (2d Cir. 2013). Thus, in reversing Judge Francis’s and Judge Sand’s

denial of Goldman Sachs’s motion to compel arbitration against former named Plaintiff Lisa

Parisi, and enforcing her agreement to arbitrate, the Second Circuit stressed that “[t]here is no

dispute that the . . . broad arbitration clause [] covers Title VII claims.” Id. at 486.

                Under the Federal Arbitration Act (“FAA”), all of the agreements to arbitrate here

(the “Agreements”)—the 719 agreements executed before class members were part of any

alleged class and the remaining 1,133 executed after the filing of the Complaint—are

presumptively “valid, irrevocable, and enforceable.” 9 U.S.C. § 2 (emphasis added).            The

Supreme Court has construed the FAA 56 times since its enactment in 1925 and, except for eight

cases (involving questions of federal jurisdiction, agency action, or specific types of agreements
excluded from the FAA’s purview by the statute itself), the Court has consistently ruled in favor

of enforcing agreements to arbitrate.1

               The FAA’s presumption of validity “appl[ies] with even greater force” to the

Agreements here, which were entered into by sophisticated and highly paid professionals.

Cellular Tel. Co. v. 210 E. 86th St. Corp., 839 N.Y.S.2d 476, 480 (1st Dep’t 2007). Indeed,

courts in this District routinely compel sophisticated financial services professionals to

arbitration, as this Court should now do, particularly in light of the Second Circuit’s controlling

decision in Parisi. See, e.g., Berger v. Cantor Fitzgerald Sec., 967 F. Supp. 91, 94 (S.D.N.Y.

1997) (Scheindlin, J.) (compelling arbitration of securities dealer’s claim against brokerage firm

and rejecting argument “that he lacked the sophistication required to understand the meaning of

the arbitration clause”).

               To defeat the FAA’s presumption of validity, each class member who wishes to

remain in the class bears the burden of proving that a “generally applicable contract defense[],

such as fraud, duress, or unconscionability,” bars enforcement of her promise to arbitrate.

Doctor’s Assoc., Inc. v. Casarotto, 517 U.S. 681, 687 (1996). Thus, unless class members put


1
        See, e.g., Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1632 (2018) (enforcing employer-
employee arbitration agreements with class action waivers notwithstanding National Labor
Relations Act provision permitting workers “to engage in other concerted activities for the
purpose of . . . mutual aid or protection” (quoting 29 U.S.C. § 157)); Am. Express Co. v. Italian
Colors Rest., 570 U.S. 228, 233-34 (2013) (enforcing arbitration agreement with merchants, even
though plaintiffs would “incur prohibitive costs if compelled to arbitrate under the class action
waiver” (quoting In re Am. Express Merchants’ Litig., 554 F.3d 300, 315–16 (2d Cir. 2009),
cert. granted, judgment vacated sub nom. Am. Express Co. v. Italian Colors Rest., 559 U.S. 1103
(2010))); AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 351 (2011) (striking down
California law prohibiting class arbitration waivers in consumer contracts, even though “class
proceedings are necessary to prosecute small-dollar claims that might otherwise slip through the
legal system”); Circuit City Stores, Inc. v. Adams, 532 U.S. 105 (2001) (rejecting that Section 1
of the FAA excludes “all employment contracts” and holding that FAA encompasses
employment agreements).


                                                -2-
forward sufficient evidence, on a summary judgment standard, and meet their burden to show

that their Agreement was the result of fraud, duress or unconscionability, the Court must compel

those class members to arbitration. See, e.g., Barreto v. Jec II, LLC, 2017 WL 3172827, at *5

(S.D.N.Y. July 25, 2017) (Forrest, J.) (compelling arbitration where plaintiff failed to establish

agreements were “unconscionable as a matter of law”).

               Right after the close of the opt-out period, Goldman Sachs promptly served

arbitration demands on class counsel for each class member who failed to comply with her

agreement to arbitrate, and Plaintiffs’ counsel refused those demands without even contacting

affected class members. (See ECF No. 671 at 1; Declaration of Robert J. Giuffra, Jr., dated April

12, 2019 (“Giuffra Declaration” or “Giuffra Decl.”), Exs. 1290–1299.)2 Although the Notice

sent to class members advised that “Goldman Sachs has asserted that . . . those who have signed

agreements to arbitrate . . . should be excluded from the Class” (Ex. 1300 at ¶ 5), class members

may not have paid attention to the Notice or opt-out procedure, or even recognized their

obligation under the Agreements to opt out of this class.

               Class counsel cannot have it both ways: to purport to represent all absent class

members, yet not to reach out to any of their clients to advise them of their obligations and the

risks of ignoring their agreements to arbitrate. Instead, to avoid enforcement of the Agreements,

class counsel have advanced two flawed theories, both of which the Court should reject.

               First, class counsel have baselessly claimed that Goldman Sachs somehow

waived its right to compel arbitration by not seeking to enforce the Agreements even before the

Court certified the class and thus obtained jurisdiction over absent class members. As the


2
        References to “App.” or “Ex.” are to Appendices or Exhibits to the Giuffra Declaration,
unless otherwise noted.


                                                -3-
Second Circuit has held, “[t]he key to a waiver analysis is prejudice.” Thyssen, Inc. v. Calyposo

Shipping Corp., S.A., 310 F.3d 102, 105 (2d Cir. 2002) (per curiam). There can be no prejudice

here, where Goldman Sachs raised its agreements to arbitrate dozens of times since this case

started, including in its each of its three Answers (see App. F), and moved to compel arbitration

at the legally earliest time. Under black letter law, this Court had no jurisdiction over absent

class members until the class was certified, and “due process requirements” were met, including

“adequate notice” to class members and the “opportunity to opt out.” Feuerman v. Sears,

Roebuck & Co., 1996 WL 648966, at *5 (S.D.N.Y. Nov. 6, 1996) (Chin, J.). Because “it would

have been impossible in practice to compel arbitration against speculative plaintiffs” until after

the close of the opt-out period, this motion is clearly timely, and those class members who have

not abided by their agreements to arbitrate have suffered no prejudice. See Gutierrez v. Wells

Fargo Bank, NA, 889 F.3d 1230, 1234, 1238 (11th Cir. 2018) (granting motion to compel where

defendant “reserv[ed] its arbitration rights” and filed motion when court first had jurisdiction

over absent class members).

               Second, class counsel claim that all Agreements executed after the filing of the

Complaint are per se unenforceable. But no court has ever adopted such a blanket rule, which

would plainly conflict with the FAA, including the burden of those class members with

arbitration agreements to prove a “contract defense.” To avoid this Court’s enforcement of the

Agreements, class counsel rely on inapposite cases involving: (i) defendants who purposefully

introduced arbitration agreements to reduce or eliminate participation in the class; (ii) vulnerable

class members (such as consumers, security guards, home healthcare workers); (iii) little or no

additional consideration for the promise to arbitrate; and/or (iv) class members with no

“reasonable means” to learn about the class action. See cases cited in Part II.B.2, infra.


                                                -4-
                Here, by contrast, class members are highly sophisticated; received valuable

consideration in exchange for agreeing to arbitration; and, through multiple litigation hold

notices and extensive press coverage, were repeatedly put on actual or constructive notice of this

lawsuit. Perhaps most importantly, all class members are financial industry professionals, where

arbitration is widely and commonly used to resolve disputes with employees, regardless of

gender. See FINRA Code of Arbitration Procedure for Industry Disputes Rule (“FINRA Rule”)

13201(a).

                This Motion is now ripe for decision, see 9 U.S.C. § 4 (arbitration may be

compelled where party “refus[es] . . . to arbitrate under a written agreement”), and the Court

should compel to arbitration class members who are parties to the Agreements but failed to opt

out of this action.

                                  FACTUAL BACKGROUND

        A.      The Agreements

                This Motion concerns         Agreements used in the ordinary course of Goldman

Sachs’s business without regard to gender:

        (1)           Agreements in which class members3 agreed to arbitration and a release of
                                                                against the Firm in exchange for




3
        “Class member” is used throughout this brief to refer to the persons who are the subject
of this Motion, none of whom was a class member on the date they executed their Agreements.
The absent class members who executed Agreements before the filing of the Complaint of course
were not class members when they executed their Agreements, and those who executed
Agreements after the filing of the Complaint were putative class members or had no class status
at all when they did so (e.g., they signed agreements before starting employment at Goldman
Sachs).


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               valuable, discretionary severance benefits—
                                               (“Separation Agreements”);4

       (2)     201 Agreements in which class members agreed to arbitration in exchange for
                                       and promotion to Extended Managing Director (“EMD”)
               or Participating Managing Director (“Partner”) (collectively, “MD”) (“MD
               Agreements”);

       (3)     187 Agreements in which Private Wealth Advisors (“PWAs”) agreed to
               arbitration in exchange for their employment by the Firm in a role with significant
               career and compensation benefits—


               (Declaration of Kathleen Cupertino, dated April 11, 2019 (“Cupertino Decl.”),
               ¶¶ 9–13.) (“PWA Agreements”); and

       (4)     694 Agreements entered into by class members in exchange for valuable,
               discretionary equity-based compensation awards (“Equity Agreements”).

               Many of the Agreements were executed before class members were part of any

alleged class, including:

        x      647 Agreements executed before the filing of the original Complaint on
               September 15, 2010 (of which 61 are MD Agreements that are identical to the one
               enforced in Parisi);

        x      67 Agreements executed post-filing of the Complaint, but prior to commencement
               of employment at Goldman Sachs; and




4
        For the Court’s reference, attached as Appendices A to F to the Giuffra Declaration are
spreadsheets summarizing documents placed into the record with this Motion and/or voluminous
data otherwise made available to Plaintiffs. Appendices A to D identify the operative Agreement
for each class member. All Agreements are included as Exhibits to the Giuffra Declaration, as
are other relevant documents.


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        x      Five Agreements executed post-filing of the Complaint, and post-commencement
               of employment, but prior to the class member being subject to any allegedly
               discriminatory employment practice (i.e., prior to her first performance review).

(Apps. E-1; E-2; E-3.)

               The remaining Agreements executed after the filing of the Complaint include a

total of 46 Separation Agreements and MD Agreements executed by class members who had

previously agreed to arbitration before the filing of the Complaint. (App. E-4.)

       B.      Goldman Sachs’s Arbitration Practices

               1.        The    Separation Agreements

               Since at least 2002, Goldman Sachs has used a largely standard form separation

agreement. (Compare Ex. 622 with Ex. 727.) In the Separation Agreements here, Goldman

Sachs agreed to provide valuable discretionary severance benefits to certain class members upon

termination of their employment, in exchange for, among other things, a general release of

claims and an agreement to arbitrate all disputes with the Firm.5

               The valuable consideration granted to separated class members included, for

example:




5
       Goldman Sachs’s policies governing severance were made available to class members in
the Employee Handbook or, more recently, on an internal website, and make clear that
“[p]ayment of severance is at the discretion of the [F]irm.” (Exs. 1301–1303.)


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(See App. A, Columns G–J.)

               In exchange for these valuable severance benefits, each of the           class members

who signed Separation Agreements agreed, in broad terms, to




                                (See, e.g., Ex. 362 at § 5.1 (emphasis added).) These releases

extend to



                                                                               (Id.) The Separation

Agreements also provide for arbitration of



                                                                   6
                                                                       (Id. at § 9.1)

               Class members who entered into a Separation Agreement were

                                                                                 (See, e.g., Exs. 735

(           ); 394 (       ); 336 (          ).) Eighteen of the Separation Agreements reflect on

their face that the class members were represented by their own counsel (App. E-6), including

four Agreements (two of which post-date the filing of the Complaint) where the class member

was represented by Outten & Golden, one of class counsel here. (See Exs. 107, 385, 612, 727.)
6
        Of the      Separation Agreements,    were executed by former Managing Directors.
These      Separation Agreements
                          ( of which were signed before the filing of the Complaint). (See,
e.g., Ex 416 at § 9.1; App. E-5 (providing that

                                                )). The arbitration provisions in MD Agreements
are similarly broad, as shown in Part B.2., infra.


                                                 -8-
               2.     The 201 MD Agreements

               Since at least 2002, Goldman Sachs has required all employees, regardless of

gender, promoted to EMD or Partner to execute standard MD Agreements. (Compare Ex. 883

with Ex. 989.) As with the Separation Agreements, all 201 MD Agreements include a broad and

virtually identical provision requiring arbitration of
                                                                       7
                                                                           (App. B, Column I.) 8

Consideration for entering into the MD Agreements and the commitment to arbitrate disputes

included the promotion to the senior ranks of EMD or Partner and continued employment,




          . (Declaration of David Landman, dated April 11, 2019 (“Landman Decl.”), ¶ 7.)

EMDs and Partners also continue to be eligible for discretionary annual bonuses. (Id. ¶ 7.)

               Those who achieve the rank of EMD or Partner are highly educated, experienced

and sophisticated professionals. (Id. ¶¶ 4–6.) Virtually all EMDs have at least Bachelor’s

degree or foreign equivalent, and over 40% of the most recent EMD promotion class in 2017 had

at least one advanced degree. (Id. ¶ 6.) Promotion to EMD is a significant achievement within

the financial services industry, and

                           . (Id. ¶¶ 4–5.)

                                       . (Id. ¶ 4.)

7




(Ex. 895 § 10.)
8
      The form agreements used for promotion to EMD or Partner are substantially the same.
(Compare, e.g., Ex. 954 with Ex. 1057.)


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                                                      . (Id. ¶ 5.)

                 3.     The 187 PWA Agreements

                 As required in the financial services industry, all PWAs at Goldman Sachs are

registered with the Financial Industry Regulatory Authority (“FINRA”) (or, prior to 2007, its

predecessor entities the National Association of Securities Dealers and New York Stock

Exchange Member Regulation.         (Cupertino Decl. ¶ 4.)      Under FINRA rules, registered

representatives must agree “to arbitrate any dispute, claim or controversy that may arise

between me and my firm” in the Form U4 required for FINRA registration. Uniform Application

for Securities Industry Registration or Transfer § 15A, ¶ 5 (2009) (emphasis added). Since

January 1, 1999, FINRA rules expressly permit arbitration of employment discrimination claims

where the parties “have agreed to arbitrate it, either before or after the dispute arose.” FINRA

Rule 13201(a).

                 Since at least 1998, Goldman Sachs has required that all PWAs enter into a

standard PWA Agreement specifying certain conditions of their employment, including that




             (Ex. 1156 at § 9 (emphasis added); Cupertino Decl. ¶ 7.)

                 Like MDs, PWAs are highly educated and sophisticated professionals. They

provide integrated wealth advisory services for high-net-worth individuals and families, such as

portfolio management, administration of trusts and estates, and private banking and lending.

(Id. ¶ 3.) Virtually all PWAs have at least a Bachelor of Arts or Science degree and all must pass

FINRA’s registration examinations for investment advisors.           (Id. ¶ 4.)   Many others have

advanced degrees, such as an M.B.A. (Id. ¶¶ 4, 6.) PWAs work together in teams, overseeing


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other wealth management professionals, to attract new and manage existing client relationships.

(Id. ¶ 8.)

                All PWAs are hired as “New Private Wealth Advisors” (“NPWAs”), whether

from within the Firm or externally.     (Id. ¶ 5.)

Goldman Sachs currently hires approximately             NWPAs annually out of a field of

approximately         applicants. (Id.) NPWAs are often hired from highly regarded M.B.A.

programs or laterally from other financial services firms. (Id. ¶ 6.) Many NPWAs start at the

Firm as summer interns while studying for a degree; they generally execute their PWA

Agreement prior to commencing their employment when they return to the Firm after completing

their studies. (Id. ¶ 7.) NPWAs hired laterally also typically execute their PWA Agreement

prior to commencing employment at Goldman Sachs. (Id.)

                Associate-level NPWAs are paid a base salary of



                                        (Id. ¶ 9.)




                                                                                 (Id. ¶¶ 9–11.)

                                                          (Id. ¶ 11.)10

                4.     The 694 Equity Agreements

9

                       (Cupertino Decl. ¶ 10.)
                                  (Id.)
10
       PWAs in the Partners Coverage Group provide wealth management services to current
and former Partners. (Cupertino Decl. ¶ 13.) These PWAs
                                                                                 . (Id.)


                                                 -11-
               The 694 class members with operative agreements relating to awards of

discretionary equity-based compensation (“Equity-Based Awards”) generally received grants of



                                                    11
                                                         (See App. D; Declaration of Eric Dias, dated

April 12, 2019 (“Dias Decl.”) ¶ 5.) The approximate value of their Equity-Based Awards, based

on the stock price on the date of grant,
                                           12
                                                (Id. ¶ 36, Dias Decl., Ex. 61.) In exchange for this

valuable discretionary compensation, these class members agreed in broad terms to arbitrate “all

claims arising out of or relating to [their] employment with the Firm or the termination thereof,

or otherwise concerning any rights, obligations or other aspects of [their] employment

relationship with the Firm.” (See, e.g., Dias Decl., Ex. 14 at ¶ 1 (emphasis added).)13

               Almost all of the 694 class members agreed to the terms and conditions applicable

to their Equity-Based Award                                                    .14 (Dias Decl. ¶ 16.)


11
        The       main types of Equity-Based Awards at issue in this motion are:

                (Dias Decl. ¶ 6.) A small number of class members received



     . (See Dias Decl., Ex. 1.)
12
        This approximate value is calculated by
                                                                                  . (Dias Decl. ¶ 36,
Ex. 61, Column P.)
                                                         (Dias Decl. ¶ 11),

13
       All employees who receive Equity-Based Awards under the SIP must agree to arbitrate
any disputes related to their Awards. (See, e.g., Dias Decl., Ex. 14 at 1.) .
14
       Of the 694 class members whose operative agreement is an Equity Agreement, 689
submitted their Signature Card electronically, and five class members elected to print and sign

                                                 -12-
                        (Id. ¶¶ 24-25.) The Signature Card states in bold print at the top: “YOU

MUST PROPERLY EXECUTE THIS FORM TO ACKNOWLEDGE ACCEPTANCE OF

THE TERMS AND CONDITIONS OF YOUR AWARD(S) AND RELATED MATTERS.”

(E.g., Dias Decl., Ex. 8 (emphasis in original).)




                       (Id. ¶ 21.)




                 (Id. (emphasis added).)15

                                     (Id. ¶ 20.)

               The 694 class members who agreed to arbitration in Equity Agreements were

the Signature Card and return it to the Firm’s Equity Compensation Group. (App. D, Column I;
Dias Decl. ¶ 24, Ex. 61, Column L.)
15



                                           (Id. ¶ 28.)

                                                          (Id. ¶¶ 28-29.)
                                                                      (Id. ¶ 30.)


                                                   -13-
highly compensated professionals. For example, 675 of these class members received




                       (Id.)16 Over 500 of these class members also accepted Equity Agreements

multiple times from 2015 to 2017 (141 submitted two Signature Cards; 371 submitted three

Signature Cards; and three submitted four Signature Cards). (See App. E-7.)

        C.      Actual or Constructive Notice of This Action

                The class members who agreed to arbitration after the filing of the Complaint

were repeatedly put on actual or constructive notice of this lawsuit and had multiple means

available to learn about it.

                First, on September 20, 2010—five days after the Complaint was filed—Goldman

Sachs sent individual document retention notices (“Hold Notices”) describing this case to all

U.S.-based employees at the Firm. (Declaration of Joseph Yanagisawa, dated April 12, 2019

(“Yanagisawa Decl.”), Ex. 1.)       The Hold Notices advised employees that “three former

employees sued the firm asserting claims concerning their employment and making general

allegations about the firm’s practices and policies with respect to female associates, vice

presidents and managing directors,” and directed employees to preserve any documents related

to “the firm’s practices and policies concerning compensation, promotion, assignments, support,

training and mentoring and the firm’s performance review system as they relate to associates,

vice presidents and managing directors.” (Id. at 1.)


16
        Eighteen class members’ operative Equity Agreements were for Broad-Based RSU
Awards, and one class member’s operative Equity Agreement was for a One-Time RSU Award.
(App. D, Column E.) These awards have different eligibility requirements and were not subject
to the PATC threshold for Year-End and Mid-Year RSU Awards. (Dias Decl. ¶¶ 12, 13.)


                                               -14-
              Goldman Sachs has distributed at least eight additional Hold Notices

(hyperlinking to the original notice) to employees likely to have potentially relevant documents

since the original notice was sent, including on September 21, 2010, August 2, 2011, June 19,

2012, April 9, 2013, January 29, 2014, July 15, 2015, December 2, 2016, and May 31, 2018.

(Yanagisawa Decl., Exs. 2–9.) Collectively, to date, Goldman Sachs has sent Hold Notices via

email more than 100,000 times, and many class members received Hold Notices multiple times

since this case was filed. (Declaration of Michael Becker, dated April 12, 2019 (“Becker Decl.”)

Ex. 1; see also App. A, Column N; App. B, Column K; App. C, Column J.) In all, of the class

members who executed agreements after the filing of the Complaint in this action, almost 90%

received Hold Notices prior to execution. Specifically:

                            Separation       MD               PWA          Equity
                            Agreements       Agreements       Agreements17 Agreements
# Signed Post-Filing                         140              25           694

# Signed Post-Filing Who        (95%)        136 (97%)        21 (84%)         580 (83%)
Received Hold Notice

              Second, this case has received extensive press coverage. Just four days after the

original Complaint was filed, at least 25 news articles about this lawsuit appeared in media

around the world, including the New York Times, Bloomberg News, Business Insider, as well as

several wire services such as the Associated Press, the Dow Jones News Service, New York

Business Wire and Thompson Reuters. (See, e.g., Ex. 1309 (David Benoit, Goldman Sachs Sued



17
        A total of 92 PWAs executed their Agreement after the filing of the Complaint but, as
shown in Part A, supra, 67 of these PWAs entered into their Agreements prior to commencing
employment at the Firm, and thus could not have received a Hold Notice in advance of
execution. The table above shows the remaining 25 PWAs who agreed to arbitration both post-
filing and post-hiring, of which 21 received Hold Notices. (See App. C, Columns I, J.)


                                              -15-
for Discrimination Against Women, Dow Jones News Serv. (Sept. 15, 2010); Ex. 1316 (Peter

Lattman, Women Sue Goldman, Claiming Pay and Jobs Bias, N.Y. Times (Sept. 15, 2010).)

               Each significant step in this action, including prior motion practice to enforce

Ms. Parisi’s arbitration agreement, has received additional press coverage. (See, e.g., Ex. 1340

(Nate Raymond, Goldman Wins Ruling to Arbitrate Discrimination Claim, Chi. Trib. (Mar. 21,

2013); Ex. 1349 (Bob Van Voris, Goldman Takes Key Step to Toss Group Discrimination Suit,

Bloomberg (Mar. 10, 2015); Ex. 1391 (Alison Frankel, Goldman Sachs Asks for Appellate Help

in Sex Discrimination Class Action, Reuters (June 27, 2017).) To date, at least 114 articles have

appeared in the press about this lawsuit, 96 of which specifically describe it as a class action.

(See Exs. 1304–1417.)

               Finally, Goldman Sachs has disclosed this lawsuit in each of its Form 10-Q and

10-K filings since Q3 2010, the same quarter that the original Complaint was filed. The

disclosure states, in relevant part, that “[o]n September 15, 2010, a putative class action was

filed . . . by three former female employees alleging that Group Inc. and GS&Co. have

systematically discriminated against female employees in respect of compensation, promotion,

assignments, mentoring and performance evaluations.” (Exs. 1418–1451 (emphasis added).)18

         D.    Notice to the Class and Goldman Sachs’s Arbitration Demands

               Following class certification, the parties negotiated the content of the notice to

class members advising them of the Certification Order (the “Notice”) (Exs. 1473, 1474), which

the Court approved on July 24, 2018. (ECF No. 618.) The Notice stated that “Goldman Sachs

has asserted that . . . those who have signed agreements to arbitrate any claims they may have


18
         This disclosure was amended in Q1 2018 to reflect the Certification Order. (Ex. 1448
at 4.)


                                              -16-
against the firm related to their employment should be excluded from the Class. Class Counsel

do not agree with Goldman Sachs’s position.            As of this date, the Court has made no

determination as to the current dispute between the parties on any of these issues. The fact that

you received this Notice does not mean that you will remain in the Class if you signed a release

of claims or an agreement to arbitrate.” (Ex. 1300 at 3 (emphasis added).)

               On November 30, 2018, the Notice was distributed to all putative class members

notifying them of the Certification Order and their right to opt out of the class. The deadline to

opt out was January 14, 2019. (Id.)                                   putative class members who

executed agreements to arbitrate opted out by the deadline, but the         class members who are

the subject of this Motion did not.

               On February 5, 2019, Goldman Sachs promptly sent class counsel individual

arbitration demands directed to each class member at issue on this motion requiring that she

abide by her obligation to bring her claims, if any, in arbitration and file a voluntary dismissal of

her claims in this action. (See, e.g., Exs. 1290–1294.)19 Goldman Sachs advised class counsel

that if the Firm did not receive a response to its demands by March 7, 2019, Goldman Sachs

would assume its demands had been refused and would move to compel arbitration. (Id.)

Goldman Sachs repeatedly offered class counsel additional time to confer with their clients.

(See, e.g., ECF No. 668 at 1.)

               To Defendants’ knowledge, class counsel have made no effort to confer with any


19
        Goldman Sachs also sent arbitration demands directed to counsel who had represented
class members in connection with Separation Agreements. (See, e.g., Exs. 1294, 1295.) Some
of these class members, represented by their individual counsel, elected to voluntarily dismiss
their claims from this lawsuit, but class counsel have thus far refused to file their Stipulations of
Voluntarily Dismissal, in part on the basis that “class members cannot dismiss their claims in this
action because they are not parties to this action.” (Ex. 1298 at 1; see also Exs. 1296–1299.)


                                                -17-
absent class members about Goldman Sachs’s arbitration demands. (See ECF No. 671 at 1; Exs.

1297 at 1; 1298 at 2; 1299 at 2.) Plaintiffs’ only response to the demands was to file a letter-

motion seeking to defer Goldman Sachs’s motions to compel until after a Phase One liability

trial. (ECF Nos. 667, 671.) On February 26, 2019, the Court ruled that “Defendants may file

their motion to compel arbitration by class members.” (ECF No. 681 ¶ 3; see also ECF No. 694

¶ 1.)

                                         ARGUMENT

I.      THE COURT MUST ENFORCE THE ARBITRATION AGREEMENTS OF ALL
        CLASS MEMBERS WHO HAVE REFUSED TO OPT OUT.

        A.     The FAA Imposes a “Strong Federal Policy” in Favor of Arbitration.

               Congress enacted the FAA “in response to widespread judicial hostility to

arbitration agreements.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) (citing

Hall St. Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576, 581 (2008)). The FAA expressly provides

that agreements to arbitrate “shall be valid, irrevocable, and enforceable, save upon such

grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2 (emphasis

added). Last year, the Supreme Court reaffirmed that the FAA establishes “a liberal federal

policy favoring arbitration agreements.” Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1621 (2018)

(citing Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983)). The

Second Circuit has emphasized that it is “difficult to overstate the strong federal policy in favor

of arbitration,” and that “it is a policy we have often and emphatically applied.” Arciniaga v.

Gen. Motors Corp., 460 F.3d 231, 234 (2d Cir. 2006).

               “Courts deciding motions to compel arbitration apply a standard similar to that

applicable for a motion for summary judgment.” Meyer v. Uber Techs., Inc., 868 F.3d 66, 74

(2d Cir. 2017) (internal citation omitted). In seeking to compel arbitration, Defendants “need not

                                               -18-
‘show initially that the agreement would be enforceable,’” but must only “make a prima facie

initial showing that an agreement to arbitrate existed before the burden shifts to the party

opposing arbitration . . . .” Barreto v. Jec II, LLC, 2017 WL 3172827, at *3 (S.D.N.Y. July 25,

2017) (Forrest, J.) (citation omitted). Class members here “bear[] the burden of showing the

agreement to be inapplicable or invalid.” Coleman v. Sys. Dialing LLC, 2016 WL 3387748, at

*2 (S.D.N.Y. June 17, 2016) (Cote, J.) (citation omitted); see Barreto, 2017 WL 3172827, at *4

(compelling arbitration where plaintiff failed to meet burden to show agreements were

“unconscionable as a matter of law”).

               On this Motion, if the Court determines “there is a valid contract to arbitrate

between the[] [parties],” and the parties’ dispute “is covered by the contract, the role of the court

ends and the matter is one for arbitration.” Unique Woodworking, Inc. v. N.Y. City Dist. Council

of Carpenters’ Pension Fund, 2007 WL 4267632, at *4 (S.D.N.Y. Nov. 30, 2007) (Conner, J.).

As shown below, the Agreements—which were executed by sophisticated professionals for

valuable consideration and apply to all employees, regardless of gender—are presumptively

valid. Because the Second Circuit has already concluded in Parisi that Plaintiffs’ employment

claims fall squarely within the broad arbitration clause included in each Agreement, 710 F.3d at

486, the Court should compel those class members who have refused to comply with their

Agreements to arbitration.

       B.      The Agreements Are Presumptively Valid.

               In assessing the validity of arbitration agreements under the FAA, this Court must

apply federal law “compris[ing] generally accepted principles of contract law.” Genesco, Inc. v.

T. Kakiuchi & Co., Ltd., 815 F.2d 840, 845 (2d Cir. 1987). There is no question that the

Agreements, and their arbitration clauses, are presumptively valid under these principles. See

Aviall, Inc. v. Ryder Sys., Inc., 913 F. Supp. 826, 831 (S.D.N.Y. 1996) (Mukasey, J.) (“New
                                              -19-
York contract law presumes that a written agreement is valid and that it accurately reflects the

intention of the parties, and imposes a heavy burden on the party seeking to disprove those

presumptions.”).20 Indeed, “in the absence of fraud or other wrongful act on the part of another

contracting party, a party ‘who signs or accepts a written contract . . . is conclusively presumed to

know its contents and to assent to them.” Gold, 365 F.3d at 149, 150 (emphasis added) (quoting

Metzger v. Aetna Ins. Co., 227 N.Y. 411, 416 (1920)) (finding financial advisor, “a fully

competent adult (with an MBA from a top-tier school)” bound to arbitrate Title VII claim with

employer under “broad and plain” arbitration provision).

               Moreover, this presumption of validity “appl[ies] with even greater force” where,

as here, the parties are “sophisticated.” Cellular Tel. Co. v. 210 E. 86th St. Corp., 839 N.Y.S.2d

476, 480 (1st Dep’t 2007) (internal citation omitted); see, e.g., Berger v. Cantor Fitzgerald Sec.,

967 F. Supp. 91, 94 (S.D.N.Y. 1997) (Scheindlin, J.) (compelling arbitration of securities

dealer’s claims and rejecting argument that he “lacked the sophistication required to understand

the meaning of the arbitration clause”); HSBC Bank USA Nat. Ass’n v. Strong Steel Door Corp.,

954 N.Y.S.2d 759 (N.Y. Sup. Ct. 2012) (in breach of contract action, a “sophisticated

businessman” is “presumed to understand a contract he executes and is conclusively bound to its

terms absent a valid excuse for having failed to read it.”) (internal punctuation omitted).



20
        Courts in this District regularly rely on New York law for “generally accepted principles
of contract law” to resolve questions of validity under the FAA. See Gold v. Deutsche
Aktiengellschaft, 365 F.3d 144, 149 (2d Cir. 2004) (applying New York law to find enforceable
agreement between financial advisor and employer where Form U-4 was silent on governing
law); Raiola v. Union Bank of Switz., LLC, 47 F. Supp. 2d 499, 502, 503 (S.D.N.Y. 1999)
(Scheindlin, J.) (on motion to compel arbitration of registered representative’s Title VII claims
against employer, “the Court must apply the federal substantive law of arbitrability, which
comprises generally accepted principles of contract law” and applying New York law) (internal
citations and punctuation omitted).


                                                -20-
                As shown in Part B.2., supra, MDs at Goldman Sachs generally have anywhere

from                                 years of experience in the financial industry, often have

advanced degrees, and are highly sophisticated professionals. (Landman Decl. ¶¶ 4-6.) PWAs

similarly are highly educated, credentialed financial professionals who provide investment and

wealth management advice to the Firm’s high-net-worth clients. (Cupertino Decl. ¶¶ 4–5.) All

       class members who entered into Separation Agreements were highly educated professionals

in revenue-producing roles at the Firm,     of whom were MDs and         were PWAs. (App. A,

Column O.) And the 694 class members who agreed to arbitration in Equity Agreements are

highly compensated professionals who, in most cases, earned total annual compensation of more

than                                           . (Dias Decl. ¶ 7.)

                This presumption of validity applies whether agreements are physically signed or,

as in the Equity Agreements, accepted electronically. See Whitt v. Prosper Funding LLC, 2015

WL 4254062, at *4 (S.D.N.Y. July 14, 2015) (Woods, J.) (compelling arbitration and finding

electronic agreements are “valid and enforceable contracts”) (citing Centrifugal Force, Inc. v.

Softnet Commc’n, Inc., 2011 WL 744732, at *7 (S.D.N.Y. Mar. 1, 2011) (McMahon, J.)). The

Second Circuit has enforced agreements accepted electronically, especially where, as in this

case, the web page informed the user that the terms and conditions referenced therein applied to

the transaction and where the user unambiguously consented to those terms by clicking on a box

or button. See Meyer, 868 F.3d at 75 (vacating district court’s denial of motion to compel

arbitration based on electronic agreement, emphasizing that “[c]ourts routinely uphold clickwrap

agreements for the principal reason that the user has affirmatively assented to the terms of

agreement by clicking ‘I agree’”).

                Each class member indisputably received ample consideration for her agreement


                                               -21-
to arbitrate. While an offer of employment or continuation of current employment alone is

sufficient consideration, see, e.g., Desiderio v. Nat’l Assoc. of Sec. Dealers, Inc., 191 F.3d 198,

206 (2d Cir. 1999) (holding that employment may be conditioned on agreement to mandatory

arbitration provision that “may be applied to [] Title VII claims”), cert. denied, 531 U.S. 1069

(2001),21 class members here received much more: promotion to highly remunerative positions

within the financial services industry for MDs; employment as a financial professional serving

the Firm’s high-net-worth clients for PWAs; valuable Equity-Based Awards for class members

who entered into Equity Agreements; or discretionary severance benefits

                                                                                                 who

entered into Separation Agreements. (See Parts B.1–4, supra; see also App. A, Columns G–J;

App. B, Column F; App. D, Columns P–R.)

               Thus, by every measure, Defendants have met their prima facie burden under the

first prong of the FAA inquiry to establish presumptively valid agreements between class

members and the Firm, and the Court should enforce the Agreements.

       C.      The Second Circuit’s Decision in Parisi Conclusively Held that Goldman
               Sachs’s Arbitration Agreements Cover Class Members’ Claims Here.

               The Second Circuit has already determined that the arbitration clause in the MD

Agreement is enforceable and covers Plaintiffs’ Title VII claims here. All the Agreements

contain arbitration clauses that are either virtually identical to, or substantively indistinguishable

from, the arbitration clause in the MD Agreement in Parisi, 710 F.3d at 487, which forecloses

21
        See also Cypress v. Cintas Corp. No. 2, 2017 WL 564492, at *3 (E.D.N.Y. Feb. 11,
2017) (Spatt, J.) (enforcing agreement to arbitrate and finding offer of employment “indisputably
constitutes valid consideration for the bargain” (citing cases)); Stern v. eSpeed, Inc., 2006 WL
2741635, at *2 (S.D.N.Y. Sept. 22, 2006) (Castel, J.) (finding that “in the specific context of
post-employment arbitration agreements, several courts in this district have held that the
continuation of employment alone is sufficient consideration . . . .” (collecting cases)).


                                                -22-
further litigation of this issue:

        x   MD Agreement:


            (See, e.g., Ex. 961 at § 8);

        x   PWA Agreement:


                                                                                          (See, e.g.,
            Ex. 1196 at § 11);

        x   Separation Agreement:




            (See, e.g., Ex. 385 at 4.);

        x   Equity Agreement: “I [] agree to arbitrate . . . all claims arising out of or relating to
            my employment with the Firm or the termination thereof, or otherwise concerning
            any rights, obligations or other aspects of my employment relationship with the
            Firm . . . .” (See, e.g., Dias Decl., Exs. 14, 18, 24 at ¶ 1.)

                In enforcing the MD Agreement in Parisi, the Second Circuit recognized that

“[c]ourts have consistently found that [Title VII] claims can be subject to mandatory arbitration,”

Parisi, 710 F.3d at 487 (citing Ragone, 595 F.3d at 120). “Discrimination claims under New

York City Human Rights law also are arbitrable.” Rice v. Brown Brothers Harriman & Co.,

1997 WL 129396, at *3 (S.D.N.Y. Mar. 21, 1997) (Mukasey, J.). Thus, because the Agreements

are presumptively valid, and because the Second Circuit has held that broad arbitration clauses,

such as the ones in the Agreements, cover Plaintiffs’ Title VII claims, the burden is on class

members to prove a “generally applicable contract defense” to avoid enforcement of the




                                                  -23-
Agreements. Casarotto, 517 U.S. at 687. As shown infra, Part II.B., class members cannot meet

this burden, and the Court should enforce their Agreements to arbitrate.

II.    THE COURT SHOULD REJECT PLAINTIFFS’ EFFORT TO AVOID
       ENFORCEMENT OF THEIR ARBITRATION AGREEMENTS.

       A.      Goldman Sachs Has Not Waived Its Right to Compel Arbitration Under the
               Agreements.

               To try to end-run the Agreements, and the Second Circuit’s controlling decision

in Parisi, Plaintiffs have claimed that Goldman Sachs somehow waived its right to compel

arbitration in this action. Because of the “emphatic federal policy in favor of arbitral dispute

resolution,” Marmet Health Care Ctr., Inc. v. Brown, 565 U.S. 530, 533 (2012), “waiver of the

right to arbitration is not to be lightly inferred,” and “any doubts concerning whether there has

been a waiver are resolved in favor of arbitration,” Katsoris v. WME IMG, LLC, 237 F. Supp. 3d

92, 100–01 (S.D.N.Y. 2017) (Abrams, J.) (citations omitted) (emphasis added). As shown

below, there is no basis on which to infer waiver on the record here.

               This Court did not have jurisdiction over absent class members until after class

certification and until the “due process requirements” of “adequate notice, an opportunity to

appear, an opportunity to opt out, and adequate representation” were satisfied. Feuerman, 1996

WL 648966, at *5.       Indeed, any determination regarding the arbitrability of absent class

members’ claims prior to class certification would have been an impermissible advisory opinion.

See Whittington v. Taco Bell of Am., Inc., 2011 WL 1772401, at *6 (D. Colo. May 10, 2011)

(where putative class members “are not currently before the court . . . a declaration regarding the

enforceability of the proffered arbitration agreement would constitute an advisory opinion.”).

Goldman Sachs has thus moved to compel arbitration as soon as legally permissible to do so.

               In any event, as the Second Circuit has made clear, “[w]aiver of the right to

compel arbitration due to participation in litigation may be found only when prejudice to the
                                               -24-
other party is demonstrated.” Thyssen, Inc. v. Calypso Shipping Corp., S.A., 310 F.3d 102, 105

(2d Cir. 2002). Since the start of this lawsuit, Goldman Sachs has repeatedly stated its intention

to compel to arbitration all class members who agreed to arbitrate employment-related disputes

with the Firm. Appendix F shows all 38 references in the record made both by Plaintiffs and

Defendants to agreements requiring arbitration. For example:

    x    Goldman Sachs included as an affirmative defense in each operative Answer filed in
         2010, 2012, and 2015 that “[l]itigation in this Court is precluded with respect to
         potential claims by those members of the putative Class of persons Plaintiffs purport to
         represent, who have executed arbitration agreements that require employment-related
         disputes to be submitted to arbitration.” (ECF No. 426 ¶¶ 246, 247 (emphasis added);
         see also ECF No. 29 ¶¶ 235, 236; ECF No. 161 ¶¶ 229, 230.)

    x    As early as December 2010—shortly after this lawsuit was filed—Goldman Sachs
         provided to Plaintiffs exemplar arbitration agreements, including EMD, Partner, and
         Equity Award Agreements, in response to Plaintiffs’ requests for samples of arbitration
         agreements which Goldman Sachs offered to its employees. (Ex. 1455 at 1.)

    x    In litigating the Parisi motion to compel arbitration, Plaintiffs acknowledged that
         Goldman Sachs maintains a “compulsory arbitration policy for its Managing
         Directors . . . .” (Ex. 1457 at 1 (emphasis added).)

    x    On June 18, 2013, Plaintiffs served document requests for “every version of the release
         of liability that . . . allegedly preclud[e] [putative class members] from participation in
         this litigation,” and “every version of the arbitration agreement that you claim
         Defendants’ Private Wealth Management Employees signed . . . thereby allegedly
         precluding them from participation in this litigation.”       (Ex. 1458 at 7 (emphasis
         added).) Goldman Sachs produced exemplar agreements in response on July 30, 2013
         and August 2, 2013. (Exs. 1461, 1462.)

    x    When briefing the motion for class certification in 2014, Goldman Sachs’s expert
         Dr. Ward critiqued Plaintiffs’ expert for “includ[ing] employees who are not in the
         putative class in his studies,” for example, “Private Wealth Advisors . . . who I have

                                               -25-
         been told signed arbitration agreements with Goldman Sachs.” (ECF No. 298 at 3 n.4
         (emphasis added).)

     x   Following the Certification Order, Plaintiffs requested “all documents constituting the
         executed arbitration, separation or release agreements for any class members who
         Defendants assert have released claims or signed arbitration agreements which
         Defendants assert cover the claims in this litigation.” (Ex. 1475 at 7 (emphasis added).)

               Because Goldman Sachs could not have moved to compel absent class members

to arbitration in this case any earlier and repeatedly reserved its right to compel arbitration, there

is neither waiver nor any conceivable prejudice to absent class members here. The decision in

Gutierrez v. Wells Fargo Bank, NA, 889 F.3d 1230 (11th Cir. 2018), is directly on point. There,

Wells Fargo asserted its arbitration agreements as a defense in its operative answers and notified

the district court that it “reserve[d] its arbitration rights against any plaintiffs who might later

join, individually or as putative class members, in this litigation.”         Id. at 1234 (internal

punctuation omitted). As in this case, the parties proceeded through “class-related discovery and

motions practice,” and Wells Fargo moved to compel absent class members to arbitration shortly

after the district court granted class certification. Id. at 1234–35. Reversing the district court’s

decision that Wells Fargo waived its right to compel arbitration, the Eleventh Circuit held, “it

cannot be said that [a defendant’s] failure to seek arbitration with the unnamed class members

prior to class certification manifested an inconsistency with its arbitration rights” as “it would

have been impossible in practice to compel arbitration against speculative plaintiffs.” Id. at

1238.22 Thus, because the defendants in Gutierrez were moving to compel arbitration at the



22
       See also In re TFT-LCD (Flat Panel) Antitrust Litig., 2011 WL 1753784, at *4 (N.D. Cal.
May 9, 2011) (defendants could not have moved to compel arbitration prior to certification
“because . . . putative class members are not parties to an action prior to class certification.”);
Kleen Prods. LLC v. Int’l Paper, 306 F.R.D. 585, 607 (N.D. Ill. 2015) (“more appropriate time”

                                                -26-
earliest practicable time, the Court concluded “we need not and do not address prejudice.” Id. at

1239 n.10. The record here similarly does not support any conceivable inference of waiver.

               The cases Plaintiffs have relied on in support of the notion that Goldman Sachs

waived the right to compel arbitration are plainly inapposite. Unlike here, where Defendants

moved to compel arbitration as soon as the Court had jurisdiction over absent class members,

those courts found waiver where defendants had engaged in extensive litigation, but failed to

raise their arbitration rights earlier in the case, such as in the answer. See, e.g., In re Cox Enters.,

Inc. Set-Top Cable Television Box Antitrust Litig., 790 F.3d 1112, 1115, 1117, 1120 (10th Cir.

2015) (finding waiver where defendant “engaged in extensive” fact and expert merits discovery,

moved to compel arbitration the “same day it moved for summary judgment,” and “fail[ed] to

mention its intent to raise its arbitration rights as a defense or inform the district court of the

existence of those rights”); In re Currency Conversion Antitrust Litig., 361 F. Supp. 2d 237, 258

(S.D.N.Y. 2005) (Pauley, J.) (waiver where defendant engaged in “[e]xtensive nationwide

discovery involving nearly one hundred depositions,” and where “expert discovery [was] in full

swing and the trial [was] scheduled to commence in seven months”).23



for motion to compel “is after the class is certified” when defendants “can determine which
specific class members are subject to potentially disqualifying contractual provisions”).
23
         See also Allied Sanitation, Inc. v. Waste Mgmt. Holdings, Inc., 97 F. Supp. 2d 320, 328–
29 (E.D.N.Y. 2000) (Block, J.) (no prejudice where defendant engaged in motion practice and
first raised arbitration agreement two months post-certification because absent class member
“was neither an actual nor putative litigant” prior to certification); Degidio v. Crazy Horse
Saloon & Rest., 880 F.3d 135, 141 (4th Cir. 2018) (finding waiver where “[i]nstead of filing a
motion to compel arbitration at an early stage,” defendant “filed multiple motions for summary
judgment, served discovery, and twice asked the district court to certify questions of state law to”
state Supreme Court); Edwards v. First Am. Corp., 289 F.R.D. 296, 307 (C.D. Cal. 2012)
(finding waiver where “[d]efendants could have asserted their intention to raise arbitration as a
defense at a much earlier stage in the proceeding.”).


                                                 -27-
       B.      Plaintiffs Cannot Establish Any Generally Applicable Contract Defenses to
               Enforcement of the Agreements.

               To try to escape enforcement of the Agreements, Plaintiffs have also claimed that

“any arbitration agreements Goldman obtained from class members after Plaintiffs filed this

class case are unenforceable” because “the agreements failed to give notice of this class action.”

(ECF No. 629 at 6 n.16; ECF No. 667 at 3.) As shown below, this broad proposition, which no

court has ever endorsed, should be rejected for two reasons.

               First, under the FAA, agreements to arbitrate must be enforced unless the party

opposing arbitration establishes a “generally applicable contract defense[],” Casarotto, 517 U.S.

at 687 (citing 9 U.S.C. § 2)—a stringent statutory requirement that cannot simply be displaced by

citing reflexively to Federal Rule of Civil Procedure 23.

               Second, no case holds, as Plaintiffs claim, that upon the mere filing of a putative

class action that may implicate employee rights, an employer must dispense with its standard

business practices and immediately include notice of the lawsuit for its agreements to arbitrate to

remain enforceable. To the contrary, the FAA bars any such notice requirement.

               1.      The Enforceability of the Agreements Turns on Whether Class
                       Members Establish a Contract Defense, Not Notice of This Lawsuit.

               Nothing about the Agreements suggests they are susceptible to a “generally

applicable contract defense,” such as fraud or unconscionability. Casarotto, 517 U.S. at 687.

Indeed, in this case, Ms. Parisi never contended that her MD Agreement was invalid and

conceded that her opposition to arbitration did not “involve[] . . . an unconscionability defense.”

(ECF No. 64 at 3.)24 Class members agreed in unambiguous terms to arbitrate “all claims” or



24
       Ms. Parisi claimed her MD Agreement should not be enforced because she had a
“substantive right under Title VII to pursue a pattern-or-practice claim, which is available only to

                                               -28-
“any dispute”—broad language that indisputably “prevents the signatory from litigating her . . .

claim in a judicial forum.” See Stevenson v. Great Am. Dream, Inc., 2014 WL 3519184 at *2

(N.D. Ga. July 15, 2014). This language captures any claims brought in court, including claims

asserted in a class action, whether the party was aware of those claims or not. In fact, all

Separation Agreements include a broad release of

                                              (See App. A, Column L.) Class members who are

parties to those Agreements cannot reasonably contend that the arbitration clause covering

                   does not extend to                 claims, particularly given that the arbitration

provision                                                                                , (see App.

A, Column K), which necessarily were unknown at the time of execution.

               As other courts have held, a party’s belated claim that she did not understand a

clear term in her agreement is not a “generally applicable contract defense” that could defeat

enforcement under the FAA. For example, in Stevenson, a collective action plaintiff argued “that

an otherwise permissible arbitration agreement is unconscionable if it was executed during the

pendency of a collective action,” because it “divest[ed] her of the right to participate in the

pending litigation,” id. at *1, 2—precisely the theory that class members advance here. The

court in Stevenson rejected the notion that an “agreement is unconscionable due to the time at

which it was executed,” because “the same could be said if the arbitration agreement had been

signed prior to the filing of th[e] action—it still would have inhibited [plaintiff]” from

participating in the collective action. Id. at *2 (emphasis in original). Thus, the court concluded

that “[e]ven if [plaintiff] was unaware of this litigation when she signed the arbitration


class plaintiffs.” 710 F.3d at 486. The Second Circuit held that Ms. Parisi had no such right and
enforced the arbitration provision in her MD Agreement. Id.


                                               -29-
agreement, she does not deny that the text of the arbitration agreement made it clear to her that

she could not participate in [a] collective action suit, pre-existing or not.” Id. (emphasis added).

                Similarly, in Lillehagen v. Alorica, Inc., 2014 WL 12768156 (C.D. Cal. Dec. 18,

2014), an employer introduced a new arbitration program after the filing of a collective action.

The court granted defendants’ motion to compel arbitration where “nothing in the record”

showed that collective action members who agreed to arbitration “did not understand that they

were agreeing to arbitrate their disputes.” Id. at *7 (emphasis added). The court further

stressed that “[p]laintiffs have not attempted to argue that the Agreements were unconscionable.

Nor have Plaintiffs attempted to argue that the Agreements were invalid under other contract

principles.”    Id.   Instead, plaintiffs claimed under Rule 23 that the agreements were

“unenforceable as products of improper communications between [the defendant-employer] and

potential class members,” id. at *3, but “[w]ithout more, the [c]ourt [was] not persuaded that the

federal policy against improper communications should trump the federal policy in favor of

enforcing arbitration agreements.” Id. at *7.25

                Class members here similarly cannot trump the FAA and avoid their burden to

establish a contract defense by grafting onto the Agreements a notice requirement unknown to

contract law. In Casarotto, the Supreme Court struck down a state law providing that “[n]otice

that a contract is subject to arbitration . . . shall be typed in underlined capital letters on the first

page of the contract” in order for the agreement to be enforceable. 517 U.S. at 684. The


25
        The parties in Lillehagen disputed whether existing employees (including some who had
already opted in) had signed arbitration agreements after the filing of the complaint, or whether
the arbitration program had been limited to new hires. 2014 WL 12768156, at *2. The court
found that even if plaintiffs had established that existing employees or opt-in plaintiffs had
agreed to arbitration, the court would “still conclude[] that it is an insufficient basis to deny
enforcement of the [a]greements to [a]rbitrate.” Id.


                                                  -30-
Supreme Court emphasized that arbitration provisions cannot be “singl[ed] out . . . for suspect

status” in this way and must instead be treated as on “the same footing as other contracts.” Id.

The Court thus held that the notice requirement “directly conflict[ed]” with the FAA because it

“condition[ed] the enforceability of arbitration agreements on compliance with a special notice

requirement not applicable to contracts generally.” Id. at 687 (emphasis added).26 Accordingly,

whether under Rule 23 or otherwise, class members cannot evade the FAA’s requirement to

establish a “generally applicable contract defense”—which must rise to the level of fraud,

unconscionability, or the like—by claiming the existence of a special class action “notice”

requirement for arbitration agreements. Id.

              In sum, the sophisticated class members who unambiguously agreed to

individually arbitrate “any dispute or claim” in exchange for highly valuable consideration—

whether before or after the Complaint was filed—cannot rely on the mere timing of the

agreement or an invented notice requirement to avoid their promise.         Because these class

members cannot meet their burden under the FAA to establish a “generally applicable contract

defense,” the Court must enforce the Agreements.



26
        The Supreme Court has repeatedly rejected similar requirements that “target” arbitration
agreements. Epic Sys. Corp., 138 S. Ct. at 1622, 1624 (rejecting defense to class waiver in
arbitration agreement based on statute allowing workers to engage in “mutual aid or protection”
and enforcing agreement where employees did not “suggest that their arbitration agreements
were extracted, say, by an act of fraud or duress or in some other unconscionable way”); Italian
Colors Rest., 570 U.S. at 232 (reversing Second Circuit holding that arbitration agreements may
be invalidated to allow “effective vindication” of statutory rights, and enforcing agreement with
class arbitration waiver even where plaintiffs would “incur prohibitive costs if compelled to
arbitrate”); Concepcion, 563 U.S. at 351 (striking down as inconsistent with FAA California law
classifying class arbitration waivers in consumer contracts as unconscionable notwithstanding
that “small-dollar claims that might . . . slip through the legal system” as a result). These
Supreme Court further cases confirm that, on its own, the fact that an arbitration agreement may
foreclose class participation is not unconscionable.


                                              -31-
               2.      Plaintiffs Rely on Inapposite Cases Involving Arbitration Programs
                       Purposefully Intended to Reduce Class Participation, Vulnerable
                       Class Members, or Little or No Consideration.

               The cases relied on by class counsel in prior correspondence with this Court bear

no resemblance to this one. (See ECF Nos. 610, 629.) Those cases involve: (i) defendants who

introduced arbitration agreements with the specific aim of reducing or eliminating participation

in the class; (ii) vulnerable class members (such as consumers, security guards, or home

healthcare workers); (iii) little or no additional consideration for the promise to arbitrate; and/or

(iv) class members with no “reasonable means” to learn about the class action. See, e.g.,

O’Connor v. Uber, 2013 WL 6407583, at *6 (N.D. Cal. Dec. 6, 2013) (arbitration agreement not

enforced where introduced in new “Licensing Agreement” for new and existing Uber drivers for

no additional consideration while “similar” class action lawsuits were pending and where class

members “had no meaningful way of learning of the current lawsuit”). 27 Plaintiffs’ cases

focused predominantly on Rule 23, and two cases—Williams v. Securitas Sec. Servs. Inc., 2011

WL 2713741 (E.D. Pa. July 13, 2011) and Piekarski v. Amedysis Illinois LLC, 4 F. Supp. 3d 952

(N.D. Ill. 2013)—did not address the FAA at all.


27
        See also Balasanyan v. Nordstrom, Inc., 2012 WL 760566, at *1–*2 (S.D. Cal. March 8,
2012) (arbitration agreement unenforceable where “rolled out” by mail “two months after” case
was filed to retail sales employees for no additional consideration); Currency Conversion, 361 F.
Supp. 2d at 244 (cardholder agreements unilaterally modified after class action for no additional
consideration held unenforceable where class members had “no other realistic source of
information regarding th[e] litigation” besides defendants); Jimenez v. Menzies Aviation, Inc.,
2015 WL 4914727, at *1 & *6 n.5 (N.D. Cal. Aug. 17, 2015) (new “ADR Policy” imposed on
airport employees “as a condition of employment” following class action); Piekarski, 4 F. Supp.
3d at 953–54 (agreement to arbitrate unenforceable where employer imposed new “Arbitration
Program” for home healthcare workers after filing of complaint featuring “self-executing
waivers”); Williams, 2011 WL 2713741, at *1, *2 (“Dispute Resolution Agreement” imposed on
security guards for no additional consideration that required them to “opt out by calling a phone
number” held unenforceable because “[l]ay persons commonly understand” that agreements are
“not binding” until they “affix[] their signatures”).


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               First, the MD, PWA and Separation Agreements have been in use at Goldman

Sachs for a decade or more before the filing of the Complaint. Agreements to arbitrate are

enforced where, as here, an employer maintains a standard practice requiring employees to sign

arbitration agreements both before and after the pendency of a class action. See, e.g., Gauzza v.

Prospect Med. Holdings, Inc., 2018 WL 4853294, at *2 (E.D. Pa. Oct. 4, 2018) (enforcing

arbitration agreements entered into pursuant to pre-existing arbitration policy while class action

was pending where plaintiffs failed to “identif[y] specific facts . . . that suggest the arbitration

agreement was rolled out in a ‘blitzkrieg fashion,’ required employees to opt-out, was introduced

during the pendency of litigation, or was otherwise improper”) (internal punctuation omitted).

               The agreement to arbitrate all employment-related disputes included in the Equity

Agreements after this class action was filed was not aimed at class members and was presented

to all employees, regardless of gender, position, Division, or putative class membership. (Dias

Decl. ¶¶ 7, 12, 13.) This broadened arbitration clause was in keeping with Supreme Court

decisions eliminating any obstacles to arbitration, other than contract-based defenses. 28

Moreover, as shown in Part II.B.1, supra, the mere fact that an agreement does not expressly

provide notice of a class action is not enough, standing alone, to meet class members’ burden to

prove a contract defense under the FAA. See Lillehagen, 2014 WL 12768156 at *7 (granting
28
        See, e.g., Italian Colors, 570 U.S. at 232–233 (enforcing arbitration agreement with
merchants even though plaintiffs would “incur prohibitive costs if compelled to arbitrate”
because “courts must rigorously enforce arbitration agreements according to their terms”
(internal quotation marks omitted)); Concepcion, 563 U.S. at 339 (striking down California law
prohibiting class arbitration waivers and holding that FAA reflects “the fundamental principle
that arbitration is a matter of contract” (quoting Rent-A-Center, West, Inc. v. Jackson, 561 U.S.
63, 67 (2010))); Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 682 (2010)
(holding that allowing class arbitration absent parties’ explicit agreement is inconsistent with
FAA and that courts “must give effect to the contractual rights and expectations of the parties”)
(internal quotation marks omitted) (quoting Volt Info. Sci., Inc. v. Bd. of Tr. of Leland Stanford
Junior Univ., 489 U.S. 468, 479 (1989)).


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motion to compel arbitration where “nothing in the record” showed putative class members who

agreed to arbitration after filing of complaint “did not understand that they were agreeing to

arbitrate their disputes”); Stevenson, 2014 WL 3519184 at *3 (compelling arbitration where

agreement executed while collective action pending where “text of the arbitration agreement

made it clear to [collective member] that she could not participate in . . . [the] suit, pre-existing

or not.”).

                 Second, class members here are entirely different from those more vulnerable

parties in Plaintiffs’ inapposite cases. All class members who executed Agreements (i) were

highly sophisticated (see Part B, supra (describing class members’ high level of education,

experience and compensation)); (ii) received substantial, valuable consideration for their promise

to arbitrate (see id., supra (describing compensation and career opportunities;

                                   ; and Equity-Based Awards granted to class members)); and

(iii) received actual and constructive notice of this lawsuit (see Part C, supra (describing Hold

Notices and extensive press coverage)).         There is simply no resemblance between the

circumstances here and the cases cited by Plaintiffs. Thus, as required by Parisi, the Court

should enforce the Agreements.

                                         CONCLUSION

                 Goldman Sachs respectfully requests that the Court enter an order (i) enforcing

the Agreements and staying the claims of class members identified in the Notice of Motion who

agreed to arbitrate claims with Goldman Sachs, but who failed to opt out of the class and refused

Goldman Sachs’s demand to arbitrate; (ii) excluding those class members from the class; and

(iii) compelling those class members to bring their claims in arbitration within 90 days of the

Court’s order.


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                                                Respectfully,

                                                /s/ Robert J. Giuffra, Jr.
Barbara B. Brown (admitted pro hac vice)        Robert J. Giuffra, Jr.
Carson H. Sullivan (admitted pro hac vice)      Theodore O. Rogers, Jr.
PAUL HASTINGS LLP                               Sharon L. Nelles
875 15th Street, NW                             Ann-Elizabeth Ostrager
Washington, D.C. 20005                          Hilary M. Williams
                                                Joshua S. Levy
                                                SULLIVAN & CROMWELL LLP
Patrick W. Shea                                 125 Broad Street
PAUL HASTINGS LLP                               New York, New York 10004
200 Park Avenue                                 (212) 558-4000
New York, New York 10166
                                                Amanda Flug Davidoff
                                                Elizabeth A. Cassady
                                                SULLIVAN & CROMWELL LLP
                                                1700 New York Avenue, N.W., Suite 700
                                                Washington, D.C. 20006

                                  Attorneys for Defendants
                                 Goldman Sachs & Co. and
                               The Goldman Sachs Group, Inc.

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